     Case 1:21-cr-00015-LMM-LTW Document 52 Filed 08/08/22 Page 1 of 3




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


   UNITED STATES OF AMERICA
                                               Criminal Action No.
                                               1:21-CR-15-LMM
         v.

   DOMINGO MARTINEZ

              CONSENT PRELIMINARY ORDER OF FORFEITURE
   Domingo Martinez having pleaded guilty the Information, pursuant to which

the United States sought forfeiture of certain property under 18 U.S.C. § 924(d)

and 28 U.S.C. § 2461(c), and the Court having determined that the property

described below is subject to forfeiture pursuant thereto, that the Government has

established the requisite nexus between said property and the offense charged the

Indictment and the Defendant having consented to this Consent Preliminary

Order of Forfeiture becoming final as to him, being made a part of his sentence

and being included in the judgment against him;

      IT IS HEREBY ORDERED that Domingo Martinez shall forfeit to the United
States the following property:

   a. Taurus 9mm pistol, bearing serial number TKZ41976, and

   b. Any associated magazines and ammunition.
      IT IS HEREBY ORDERED that upon entry of this order, the United States

Attorney General, or his designee, is authorized to seize the property in

accordance with Fed. R. Crim. P. 32.2(b)(3).
     Case 1:21-cr-00015-LMM-LTW Document 52 Filed 08/08/22 Page 2 of 3




      The United States shall publish notice of this Order and its intent to dispose
of the property in accordance with Fed. R. Crim. P. 32.2(b)(6) and in such a manner

as described in Supplemental Rule G(4)(a)(iii) and (iv) of the Federal Rules of Civil

Procedure. The United States shall send written notice, in accordance with
Supplemental Rule G(4)(b)(iii)-(v), to any person who reasonably appears to be a

potential claimant with standing to contest the forfeiture of the above-listed

property in the ancillary proceeding.
      Pursuant to 21 U.S.C. § 853(n)(2), any person, other than the named

Defendant, asserting a legal interest in the property may within thirty days of the

final publication of the notice or their receipt of the notice, whichever is earlier,
petition the Court for a hearing without a jury to adjudicate the validity of their

alleged interest in the property and for an amendment to the order of forfeiture.

Any petition filed by a third party asserting an interest in the property shall be

signed by the petitioner under penalty of perjury and shall set forth the nature and

extent of the petitioner’s right, title, or interest in the property, the time and

circumstance of the petitioner’s acquisition of the right, title, or interest, and any

additional facts supporting the petitioner’s claim and the relief sought.

      After the disposition of any motion filed under Fed. R. Crim. P. 32.2(c)(1)(A)

and before a hearing on the petition, discovery may be conducted in accordance
with the Federal Rules of Civil Procedure upon a showing that such discovery is

necessary or desirable to resolve factual issues.

      The United States shall have clear title to the property following the Court’s

disposition of all third-party interests or, if none, following the expiration of the
                                          2
     Case 1:21-cr-00015-LMM-LTW Document 52 Filed 08/08/22 Page 3 of 3




period provided in 21 U.S.C. § 853(n)(2) for the filing of the third-party petitions.
The Court shall retain jurisdiction to enforce this order and to amend it as

necessary, pursuant to Fed. R. Crim. P. 32.2(e).

      IT IS FURTHER ORDERED that, pursuant to Fed. R. Crim. P. 32.2(b)(4), this
Preliminary Order of Forfeiture is hereby final as to the Defendant, but remains

preliminary as to third parties until the ancillary proceeding is concluded under

Rule 32.2(c).
                    8th day of ___________________,
   SO ORDERED this ______           August          2022.


                                       ______________________________
                                       LEIGH MARTIN MAY
                                       UNITED STATES DISTRICT JUDGE
Submitted by:


/s/ Michael S. Qin
Michael S. Qin
Assistant United States Attorney




Consented to:
Bruce Harvey
Attorney for Defendant
Georgia Bar No. 335175


                                          3
